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                            UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF TEXAS
                                   WACO DIVISION


SMART MOBILE TECHNOLOGIES LLC,                       Civil Action No. 6:21-cv-00603-ADA-DTG

                                     Plaintiff,

                       v.                            JURY TRIAL DEMANDED

APPLE INC.,

                                   Defendant.


       NOTICE OF UNOPPOSED EXTENSION OF TIME FOR VENUE DISCOVERY
                 AND FOR BRIEFING REGARDING DEFENDANT’S
          MOTION TO TRANSFER VENUE PURSUANT TO 28 U.S.C. § 1404(a)

        IT IS HEREBY STIPULATED by and between Plaintiff Smart Mobile LLC (“Smart

Mobile”) and Defendant Apple Inc. (“Apple”) that (i) the venue discovery period for Apple's

Motion to Transfer Venue Pursuant to 28 U.S.C. § 1404(a) (“Motion to Transfer”) (ECF No. 29),

is extended to June 27, 2022; (ii) Smart Mobile's brief in response to the Motion to Transfer shall

be filed by July 11, 2022; and (iii) Apple's reply in support of the Motion to Transfer shall be filed

by July 25, 2022.

        Good cause exists for this extension. The Motion to Transfer was filed on February 11,

2022. On March 7, 2022, the Court published its Standing Order Governing Proceedings (OGP)

4.0-Patent Cases, which provided for three months of venue discovery after the filing of a venue

transfer motion.1 So venue discovery was scheduled to close on May 11, 2022. However, by Order

entered on May 10, 2022 (ECF No. 41), the Court (a) gave Apple until May 30, 2022 to provide



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     Subsequently, the Court published version 4.1 of its OGP, filed on April 12, 2022 (ECF No.
33), which shortened the venue discovery period to 10 weeks, absent extensions.



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supplemental responses to Smart Mobile's venue interrogatories and (b) granted Smart Mobile

leave to pursue venue-related discovery from third-party Samsung. Smart Mobile and Apple agree

that extending the venue discovery period to June 27, 2022 will aid the parties to complete this

discovery and facilitate scheduling of party depositions regarding venue issues pursuant to

Fed. R. Civ. P. 30(b)(6). The requested extension is not expected to change the date of any hearing,

trial, or other Court date. Nor does the request extend any deadline of a final submission that affects

the Court's ability to hold a scheduled hearing, trial, or Court event.

       THEREFORE, the parties respectfully request entry of an ORDER (i) that venue discovery

period for Apple's Motion to Transfer is extended to June 27, 2022; (ii) Smart Mobile's brief in

response to the Motion to Transfer shall be filed by July 11, 2022; and (iii) Apple's reply in support

of the Motion to Transfer shall be filed by July 25, 2022.



DATED: May 20, 2022                                 Respectfully submitted,

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                               CERTIFICATE OF SERVICE


       The undersigned certifies that a true and correct copy of the above document was served

on May 20, 2022 to all counsel of record via ECF.

                                                    /s/ Greer N. Shaw
                                                    Greer N. Shaw
